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                              Governing Pretrial Matte Page 1 of 1


  Form 504 (CMB Form)
                         IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF PENNSYLVANIA


  IN RE:

  Sumanta Banerjee                                :   Bankruptcy No.: 21−21306−CMB
      Debtor(s)                                   :
                                                  :   Chapter: 7
  Sadis & Goldberg, LLP                           :
                                                  :   Adversary No.: 23−02012−CMB
            Plaintiff(s),                         :
                                                  :
      v.                                          :
  Sumanta Banerjee                                :
                                                  :
            Defendant(s).                         :



                            ORDER GOVERNING PRETRIAL MATTERS

     AND NOW, this The 2nd of May, 2023 , whereas the Parties in the above−captioned adversary
  proceeding filed their Early Conference Certification and Stipulation, It is hereby ORDERED,
  ADJUDGED, AND DECREED as follows:

      The Early Conference Certification and Stipulation is adopted in its entirety as filed by the
  parties.
      The Early Conference Certification and Stipulation is adopted with the following amendments:


  At Pittsburgh, Pennsylvania.
